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                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     The Jacob K. Javits Federal Building
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278



                                                     August 26, 2024

BY ECF

The Honorable George B. Daniels                      The Honorable Lewis A. Kaplan
United States District Court                         United States District Court
Southern District of New York                        Southern District of New York
500 Pearl Street                                     500 Pearl Street
New York, New York 10007                             New York, New York 10007

       Re:     United States v. Ryan Salame, S7 22 Cr. 673 (LAK)
               United States v. Michelle Bond, 24 Cr. 494 (GBD)

Dear Judge Daniels and Judge Kaplan:

       The Government respectfully submits this letter to alert the Court to factually related cases
pending before Your Honors.

       In September 2023, defendant Ryan Salame waived indictment and consented to the filing
of Superseding Information, S7 22 Cr. 673 (the “Salame Case”), charging him with conspiracy to
make unlawful political contributions and defraud the Federal Election Commission, and
conspiracy to operate an unlicensed money transmitting business, in a case pending before Judge
Kaplan. Salame pleaded guilty to both counts pursuant to a plea agreement (the “Salame Plea
Agreement”) in which Salame admitted to certain uncharged conduct. On May 28, 2024, Judge
Kaplan sentenced Salame principally to 90 months’ imprisonment.

        Last week, a grand jury sitting in this district returned Indictment 24 Cr. 494 (the “Bond
Case”), charging defendant Michelle Bond with conspiring to cause and causing unlawful
campaign contributions in connection with her unsuccessful run for Congress in 2022. Certain of
the uncharged conduct described in the Salame Plea Agreement overlaps factually with the charges
in the Bond Case. The Indictment in the Bond Case was unsealed on August 22, 2024, at which
time the Bond Case was assigned to Judge Daniels.

        On August 21, 2024, after the grand jury returned the Indictment in the Bond Case but
before the Indictment was unsealed, Salame filed a petition for a writ of error coram nobis in the
Salame Case, seeking “[a]n order dismissing with prejudice any indictment of Michelle Bond for
the campaign-finance offenses the investigation of which was supposed [sic] be concluded by
Salame’s guilty plea in this case” or in the alternative “an order vacating and setting aside the
judgment of conviction entered against Salame on May 28, 2024,” among other things. Salame
Case, Dkt. 470 at 26. Salame’s petition is premised on the (demonstrably false) allegation that he
was induced to plead guilty based on representations by the Government that in exchange for
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pleading guilty, the Government would cease investigating Bond for conspiring with Salame to
commit criminal campaign finance violations. The Government intends to oppose Salame’s
petition in writing by September 4, 2024, in advance of the oral argument scheduled before Judge
Kaplan on September 12, 2024, at 10:00 a.m. See Salame Case, Dkt. 475.


                                                  Respectfully submitted,

                                                  DAMIAN WILLIAMS
                                                  United States Attorney

                                            By:                 /s/
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cc: All counsel of record (by ECF)
